   Case: 1:14-cv-08461 Document #: 299 Filed: 01/11/18 Page 1 of 3 PageID #:5984



                       IN   THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 Snyder, et al.                                     Case No. 1:14-cv-8461
                                                    (related to Snyder v. U.S. Bank, N.A.,
                  v.                                et al., No. 16-cv-11675)

 Ocwen Loan Servicing, LLC                          Hon. Matthew F. Kennelly



                               Declaration of Mark Ankcorn

I, Mark Ankcorn, declare as follows:

       1.     I am a member of the law firm of Ankcorn Law Firm PLLC (“Ankcorn

Law Firm”), counsel of record for Plaintiffs and the settlement class in this matter. I

am admitted to practice before this Court and am a member in good standing of the

bars of the states of California and Florida.

       2.     I submit this declaration in compliance with the Court’s order of January

4, 2018 (dkt. 290). Except as otherwise noted, I have personal knowledge of the facts set

forth in this declaration, and could testify competently to them.

       3.     I made a thorough search for all call data and documents derived from

that data on every computer and device used by members and staff of the Ankcorn Law

Firm PLLC. I copied that data to a removable USB media device and shipped it to this

Court as ordered via overnight FedEx delivery. I am informed that the device was

delivered to chambers on Tuesday, January 9, 2018 after a significant weather delay.

       4.     All copies were then deleted and removed from all of the Firm’s devices.

       5.     On Friday, January 5, 2018, I notified all lawyers and law firms in

writing that any data or information derived from call data is now covered by the

protective order entered in this matter (dkt. 44) and are to be treated as confidential


                                                1
  Case: 1:14-cv-08461 Document #: 299 Filed: 01/11/18 Page 2 of 3 PageID #:5985



pursuant to that order. I also attached a full and complete copy of the protective order

for reference by those firms and lawyers.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 11, 2018.



                                                _____________________

                                                Mark Ankcorn




                                            2
  Case: 1:14-cv-08461 Document #: 299 Filed: 01/11/18 Page 3 of 3 PageID #:5986




                               Certificate of Service

    I hereby certify that on January 11, 2018, I electronically filed the above and
foregoing document through the Court’s CM/ECF System, which perfected service on
all counsel of record.

                                          /s/ Mark Ankcorn




                                          3
